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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   MICHIEL GLEN OAKES,

 9                              Petitioner,                Case No. C20-996-JCC-MLP

10          v.                                             MINUTE ORDER

11   DONALD R. HOLBROOK,

12                              Respondent.

13

14          The following Minute Order is made at the direction of the Court, the Hon. Michelle L.

15   Peterson, United States Magistrate Judge:

16          This matter is before the Court on Petitioner’s “Reply and Motion for Evidentiary

17   Hearing.” (Dkt. # 29.) This Court previously noted Petitioner’s habeas petition for the Court’s

18   consideration on November 29, 2021, and allowed Respondent to file a reply brief by that date.

19   (Dkt. # 28.) However, Petitioner’s filed reply brief includes a motion for evidentiary hearing

20   which was improperly noted for November 29, 2021. Pursuant to Local Civil Rule 7(d), with the

21   exception of the motions explicitly listed in LCR 7(d)(1), 7(d)(2), and 7(d)(3), all other motions

22   shall be noted for consideration on a date no earlier than the third Friday after filing and service

23   of the motion.




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 1          Therefore, based on the filing of Petitioner’s Reply and Motion for Evidentiary Hearing,

 2   and in the interest of judicial efficiency, Respondent’s Answer (dkt. # 14) and Petitioner’s Reply

 3   and Motion for Evidentiary Hearing (dkt. # 29) are RE-NOTED on the Court’s calendar for

 4   consideration on December 3, 2021. Respondent shall file any reply brief in support of his

 5   answer by that date.

 6          Dated this 19th day of November, 2021.

 7                                                        Ravi Subramanian
                                                          Clerk of Court
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                                                      By: /s/Tim Farrell
 9                                                        Deputy Clerk

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